   Case 18-30953         Doc 8     Filed 11/02/18       Entered 11/02/18 15:32:39           Desc Main
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                              UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF MASSACHUSETTS (SPRINGFIELD)



IN RE:                                                           Case No. 18-30953-EDK
                                                                 Chapter 7
Jeremy R. Shlosser,

Debtor.


                                  NOTICE OF APPEARANCE AND
                                REQUEST FOR SERVICE OF PAPERS

          You are hereby given notice that Harmon Law Offices, P.C. appears for United Bank to represent

its interests in this matter. You are requested to serve a copy of each notice of any proceeding, hearing

and/or report in this matter, including, but not limited to notices required by Bankruptcy Rule 2002 (g)

and the Local Rules of Bankruptcy Procedure, upon the undersigned at the address indicated below.



                                                   Respectfully submitted,

                                                   United Bank,
                                                   By its Attorney
                                                   /s/Richard T. Mulligan

                                                   Richard T. Mulligan
                                                   BBO# 567602
                                                   Harmon Law Offices, P.C.
                                                   PO Box 610389
                                                   Newton Highlands, MA 02461
                                                   (617)558-0500
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Dated: November 2, 2018
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                              UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF MASSACHUSETTS (SPRINGFIELD)



IN RE:                                                            Case No. 18-30953-EDK
                                                                  Chapter 7
Jeremy R. Shlosser,

Debtor.


                                       CERTIFICATE OF SERVICE

        I, Richard T. Mulligan, state that on _November 2, 2018______________, I electronically filed the
foregoing document with the United States Bankruptcy Court for the District of District of Massachusetts on
behalf of United Bank using the CM/ECF System. I served the foregoing document on the following
CM/ECF participants:

Robert Lefebvre

Steven Weiss

Richard T. King


I certify that I have mailed by first class mail, postage prepaid, the documents electronically filed with the
Court on the following non CM/ECF participants:

Jeremy R. Shlosser
63 Clarendon Avenue
Chicopee, MA 01013

Jeremy R. Shlosser
17 Holly Street
Chicopee, MA 0103
                                                    Respectfully submitted,

                                                    United Bank,
                                                    By its Attorney
                                                    /s/Richard T. Mulligan

                                                    Richard T. Mulligan
                                                    BBO# 567602
                                                    Harmon Law Offices, P.C.
                                                    PO Box 610389
                                                    Newton Highlands, MA 02461
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